
PER CURIAM.
After reviewing the briefs and record on appeal, we find the appellant has failed to demonstrate reversible error; therefore, the judgment appealed is affirmed.
The only point which merits discussion is the propriety of the appellant’s sentence to confinement “at hard labor.” To be imprisoned “at hard labor” is improper because no existing state statute provides for its imposition as a sentence for any offense. Speller v. State, 305 So.2d 231 (Fla. 2d DCA 1974).
Remanded for the purpose of striking the language “at hard labor” from the sentencing order; otherwise, affirmed. Appellant need not be present for this purpose.
GRIMES, C. J., and SCHEB and RYDER, JJ., concur.
